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            EXHIBIT A
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                                                                                   Page 1
                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION
         ______________________________
         Richard Kadrey, et al.,       )
         Individual and Representative )
         Plaintiffs,                   )      CASE NO.
                                       )      3:23-cv-03417-VC
                  -against-            )
                                       )
         Meta Platforms, Inc.,         )
             Defendant.                )
         ______________________________)
                     *** HIGHLY CONFIDENTIAL ***
                        ATTORNEYS' EYES ONLY
                     VIDEO-RECORDED DEPOSITION OF
                           MELANIE KAMBADUR

                                   Cooley, LLP
                                 55 Hudson Yards
                            New York, New York 10001

                                       09/17/2024
                                    9:07 a.m. (EDT)

                         REPORTED BY:          MONIQUE CABRERA

         ______________________________________________________
                        DIGITAL EVIDENCE GROUP
                     1730 M Street, NW, Suite 812
                        Washington, D.C. 20036
                            (202) 232-0646


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                                                                                 Page 67
   1                  Q.        Is it also known as Libgen?

   2                  A.        Yes.

   3                  Q.        What do you understand that to be?

   4                  A.        A dataset that contains books and

   5        scientific articles.

   6                  Q.        Was Libgen used to pre-train any of

   7        the Llama models?

   8                  A.        Yes.

   9                  Q.        Which ones?

 10                   A.        I know of it being used for Llama 3.

 11         It was not used for Llama 1 and Llama 2.

 12                   Q.        Llama 3.1 is from the paper.                    Is

 13         Llama 3 different from Llama 3.1?

 14                   A.        Llama 3.1, yes, it's different.

 15                   Q.        Was Libgen used to pre-train the

 16         Llama 3 series of models?

 17                   A.        Yes.

 18                   Q.        So you mentioned that you had a high

 19         level of understanding of what Libgen was.                           Do

 20         you know specifically what type of media are

 21         included in Library Genesis?

 22                   A.        No, I don't know specifically.



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                                                                                 Page 68
   1                  Q.        But you know it contains books?

   2                  A.        Yes.

   3                  Q.        Do you know if it contains

   4        copyrighted books?

   5                  A.        I don't know the specific books on

   6        Libgen.

   7                  Q.        Have you ever examined what was in

   8        the Libgen dataset?

   9                            MR. WEINSTEIN:            Object to form.

 10                   A.        I recall seeing some high level

 11         summary statistics.

 12         BY MR. YOUNG:

 13                   Q.        Do you know if there are any books

 14         that are written in the last 50 years on Libgen?

 15                   A.        I believe so.           But, again, I haven't

 16         directly seen -- I don't directly recall any

 17         books titles.

 18                   Q.        Was there someone at Meta who was

 19         responsible for the implementation of Libgen as

 20         pre-training data for the Llama 3 models?

 21                   A.        What do you mean "the implementation

 22         of Libgen"?



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